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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                   FORT PIERCE DIVISION

                                                         CASE NO.: 2:21-cv-14340-AMC

  HOWARD COHAN,

         Plaintiff,

  vs.


  RJ CORPORATION,
  a Florida Profit Corporation,
  d/b/a HOLIDAY INN EXPRESS

        Defendant(s).
  ____________________________________/
                            NOTICE OF SETTLEMENT

         The Plaintiff, HOWARD COHAN and the Defendant, RJ CORPORATION, a Florida

  Profit Corporation, d/b/a HOLIDAY INN EXPRESS, (the Parties) by and through their

  undersigned counsel, hereby notifies the Court that the instant action has settled. Accordingly,

  the Parties expect to file a stipulation of dismissal within thirty (30) days and should not be

  required to file any further responses, motions, and/or pleadings.

         RESPECTFULLY SUBMITTED December 20, 2021.

  By: /s/ Gregory S. Sconzo                        By: /s/ Jason D. Byrd
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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on December 20, 2021, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

  is being served this day on counsel of record in this action via transmission of Notices of

  Electronic Filing generated by CM/ECF.

                                                    _ /s/ Gregory S. Sconzo
                                                    Gregory S. Sconzo, Esq.




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